                                                                                                            Form:def2

                                      UNITED STATES BANKRUPTCY COURT
                                            Eastern District of Michigan
                                               211 West Fort Street
                                                 Detroit, MI 48226


                                                Case No.: 21−40979−tjt
                                                      Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Ronald Gene Housman Jr
   aka Ronald G. Housman
   19525 Maxwell
   Northville, MI 48167
Social Security No.:
   xxx−xx−6499
Employer's Tax I.D. No.:


                                         NOTICE OF DEFICIENT FILING
It has been determined that the following document(s) are Missing and/or Non−Compliant:

12 − Corrected Cover Sheet for Amendments to Schedules and or Statements filed Re: List of Creditors Filed by
Debtor Ronald Gene Housman Jr. (Kappler, Scott)

is defective as indicated:

    Acceptable List of Creditors Missing
    Acceptable List of Creditors Not Uploaded
    Amended Document Missing or Non−Compliant (To be filed with Cover Sheet for Amendments in its entirety
    as one PDF)
    Application for Individuals to Pay the Filing Fee in Installments Missing or Non−Compliant
    Application to Have the Chapter 7 Filing Fee Waived Missing or Non−Compliant
    Bankruptcy Petition Cover Sheet Missing or Non−Compliant
    Bankruptcy Matter Civil Case Cover Sheet Missing
    Brief Missing
    Certificate of Exigent Circumstances−Credit Counseling Waiver Missing
    Chapter 13 Plan is Non−Compliant
    Cover Sheet for Amendments to Schedules and or Statements Missing or Non−Compliant (To be filed with
    corrected document in its entirety as one PDF)
    Docket or Proof of Claim Number Missing
    Electronic Signature does not match login
    Electronic Signature Missing or Incorrect Format ECF Procedure 11 (d)(1)
    List of 20 Largest Unsecured Creditors Missing
    Motion for Approval of Certificate of Exigent Circumstances (109)(h)(3)(A) Missing
    Motion to Convert under 11 USC 706(a)(Rule 9013) Missing
    Motion to Excuse Credit Counseling (109)(h)(4) Missing
    Notice of Objection to Claim Missing or Non−Compliant
    Notice of Special Appearance (LBR 9010−1(c)) Missing or Non−Compliant



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    Notice to Respondent Missing or Non−Compliant
    Original Signature Missing or Non−Compliant
    Petition Non−Compliant (To be filed in its entirety)
    Proof of Service Missing or Non−Compliant
    Proposed Order Missing
    Redacted Document Missing or Non−Compliant
    Statement of Attorney for Debtors 2016b LBR 9010−1c Missing or Non−Compliant
    Statement of Corporate Ownership Missing
    Statement of Petition Preparer Pursuant to F.R.Bankr.P.2016 (c) Missing
A corrected/missing document must be filed with the court within seven (7) days of this notice. If not corrected, the
case may be dismissed or an order striking the document from the record may be entered by the Court. The new
document filed should be identified as "CORRECTED".

Dated: 3/2/21
                                                                    BY THE COURT



                                                                    Todd M. Stickle , Clerk of Court
                                                                    U.S. Bankruptcy Court




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                                                                United States Bankruptcy Court
                                                                 Eastern District of Michigan
In re:                                                                                                                   Case No. 21-40979-tjt
Ronald Gene Housman, Jr                                                                                                  Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0645-2                                                    User: skoni                                                                 Page 1 of 1
Date Rcvd: Mar 02, 2021                                                 Form ID: def2                                                              Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 04, 2021:
Recip ID                  Recipient Name and Address
db                      + Ronald Gene Housman, Jr, 19525 Maxwell, Northville, MI 48167-2646

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 04, 2021                                             Signature:            /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 2, 2021 at the address(es) listed
below:
Name                                Email Address
Basil T. Simon
                                    bsimon@ecf.axosfs.com trusteesimon@sszpc.com;lbauer@sszpc.com

Scott D. Kappler
                                    on behalf of Debtor Ronald Gene Housman Jr skapplerlaw@gmail.com


TOTAL: 2




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